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                                                                              _-AR 01     2021
                                UNITED STATES DISTRICT COURT CLERK,
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION                             r--
  UNITED STATES OF AMERICA,                      §      Cause No.:
                                                 §     FILED UN)ER SEAL
            Plaintiff,                           §
                                                 §     INDICTMENT
                                                 §
 V.
                                                 §     [Count One:   18 U.S.0 § 1343, 1349,
                                                 §       Conspiracy to Commit Wire Fraud,
                                                 §
 JUAN ENRIQUE KRAMER (1),                              Counts Two - Five 18 U.S.0
                                                 §                                  § 1343,
 ADRIANA PASTOR (2),                             §       Wire Fraud.}
 NOEL OLGU1N (3),
 KARINA HERNANDEZ (4)


         Defendants.
                                             S21CRO 154
 THE GRAND JURY CHARGES:

 At all times material to this Indictment:

                         DEFENDANTS AND THEIR BUSINESS ENTITIES

         1.        Defendant JUAN ENRIQUE KRAMER was a citizen of Mexico with a visa

permitting him to reside within the United States, and the husband of Defendant ADRIANA

PASTOR.

        2.         Defendant ADRIANA PASTOR was a citizen of Mexico with a visa permitting

her to reside within the United States, and the wife of Defendant JUAN ENRIQUE KRAMER.

        3.        Defendants JUAN ENRIQ1JE KRAMER and ADRL4NA PASTOR frequently

resided within the San Antonio, Texas area, within the Western District of Texas.

       4.         Defendants JUAN ENRIQUE KRAMER and AJ)RIANA PASTOR were the

owners and operators of multiple businesses incorporated within the United States, including

Emprequekas, LLC, and La Cantinita Holding, LLC. These companies were primarily focused on

marketing and operating Mexican food restaurants.
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                 In addition to directly running the restaurants, Defendants JUAN ENRIQUE

 KRAMER and ADRIANA PASTOR also advertised and promoted their ability to create similar

 restaurants for sale to investors.

         6.      Defendant NOEL OLGUIN was a citizen of the United States who was part owner

 of a business called Texas Franchise and Business Consulting (TFBC). This business mainly

 targeted and marketed to Mexican nationals who were interested in starting businesses located

 within Texas. Defendant NOEL OLGUIN was hired by Mexican investors to help them locate

 Texas-based businesses to invest in, for which TFBC was paid a commission.

        7.      Defendant KARINA HERNANDEZ was a citizen of the Mexico with a visa to

reside within the United States and was also a part owner of TFBC. Defendant KARINA

HERNANDEZ was hired by Mexican investors to help them locate Texas-based businesses to

invest in, for which TFBC was paid a commission.


                                       COUNT ONE
                           CONSPIRACY TO COMMIT WIRE FRAUD
                                  [18 U.S.C. § 1343, 13491

                Beginning in or about December of 2015, and continuing to in or about January of

2019, in the Western District of Texas and elsewhere, the Defendants

                                 JUAN ENRIQUE KRAMER (1),
                                     ADRIANA PASTOR (2),
                                      NOEL OLGUIN (3),
                                 and KARINA HERI'IANDEZ (4),

together and with persons known and unknown to the Grand Jury, did unlawfully, willfully, and

knowingly conspire, combine, confederate, and agree together and with each other and with other

individuals both known and unknown to the Grand Jury to devise and execute a scheme to defraud


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 multiple complainant investors and to obtain money by means of false and fraudulent pretenses,

 representations and promises, utilizing transmissions by wire in interstate and foreign commerce,

 in violation   of Title   18, United States Code, §       1343 and 1349.

                             MANNER AND MEANS OF THE CONSPIRACY

        The manner and means by which the conspiracy was sought to be accomplished included,

 among others, the following:

        9.        Defendants JUAN ENRIQUE KRAMER and ADRIANA PASTOR marketed

 themselves as successful owners and operators of multiple restaurant locations within the United

 States and Mexico. The primary business that Defendants promoted was a line of Mexican food

restaurants called "Las Quesadillas". Defendants did in fact own and operate multiple Las

Quesadillas locations throughout Texas, including at least one in San Antonio.

        10.       Defendants JUAN ENRIQUE KRAMER and ADRIANA PASTOR advertised

that they were able to deliver "turn-key" restaurants to investors for a set fee. A "turn-key"

restaurant meant that the Defendants would perform all the steps necessary to create and open a

fully functional "Las Quesadillas" location. According to the Defendants' promotional literature,

this included: finding and renting a suitable location, obtaining all necessary permits, assistance

obtaining visas for investors to reside in the United States, completion of all construction,

providing all necessary equipment, recipes, employee training, and handling all legal fees and

incorporation issues. In sum, the concept sold by Defendants JUAN ENRIQUE KRAMER and

ADRIANA PASTOR was that they would create an operating restaurant within three to four

months of beginning construction, and then hand the business to the investor.




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         11.     Defendants JUAN ENRIQUE KRAMER and ADRIANA PASTOR charged

 approximately $105,000 to $1 15,000 for a single location, or approximately $250,000 for a

 "master license" agreement where they would promise not to open or sell any other Las

 Quesadillas restaurants within a certain area.

         12.     Defendants JUAN ENRIQUE KRAMER and ADRIANA PASTOR primarily

 targeted Mexican national investors who were looking to open a business in the United States.

         13.    Defendants JUAN ENRIQUE KRAMER and ADRIANA PASTOR advertised

 in print and online, offering franchise opportunities involving Las Quesadillas.

         14.    Defendants JUAN ENRIQUE KRA1VIER and ADRIANA PASTOR agreed with

Defendants NOEL OLGUIN and KARINA RERNANDEZ that TFBC would solicit business

for the Las Quesadillas franchise and be paid a commission sales to investors in return.

        15.     NOEL OLGUIN would attend investment fairs and conferences in Mexico and

advertise his ability to help Mexican investors create a business within the United States. NOEL

OLGUIN and KARINA HERNANDEZ met with investors and promoted the Las Quesadillas

concept. NOEL OLGUIN and KARINA IIERNANDEZ represented to potential investors that

they had vetted Las Quesadillas and that it was a safe and secure opportunity. In fact, NOEL

OLGUIN and KARINA HERNANDEZ were aware that JUAN ENRIQUE KRAMER and

ADRIANA PASTOR repeatedly took investor money, failed to deliver on their contracts, and

refused to return investor funds.

        16.    NOEL OLGUIN, KARINA HERNANDEZ, and TFBC were paid approximately

$20,000 to $25,000 as a commission for each successful deal that they brought to Defendants

JUAN ENRIQUE KRAMER and ADRIANA PASTOR.


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          17.    Between January of 2016 and January of 2019, Defendants JUAN
                                                                              ENRIQUE
  KRAMER and ADRIANA PASTOR entered into agreements with multiple investors
                                                                            in which
 they contracted to deliver them a fully operational Las Quesadillas franchise.
                                                                                Defendants JUAN
 ENRIQUE KRAMER and ADRIANA PASTOR operated this business through
                                                                  the
 Emprequekas, LLC company, which was incorporated in Texas and listed a San Antonio
                                                                                    address
 as its principal place of business.

         18.    Defendant JUAN ENRIQUE KRAMER frequently promoted the Las Quesadillas

 business by displaying false and fraudulent accounting numbers to prospective investors,
                                                                                          thereby
 deceiving them about the potential profitability of their investment.

        19.     Defendants JUAN ENRIQUE KRAMER, ADRIANA PASTOR, NOEL

 OLGUIN, and KARINA HERNANDEZ marketed and sold multiple Las Quesadillas "turn-key"

 locations knowing that the locations would not be completed. On multiple occasions during
                                                                                           this
time frame, Defendants JUAN ENRIQUE KRAMER, ADRIANA PASTOR, NOEL
                                                                                        OLGUIN,
and KARINA HERNANDEZ took investor funds and failed to provide the promised
                                                                                       services. In
some instances, Defendants took investor funds and never provided anything of value
                                                                                    in return.
        20.     More frequently,       Defendant JUAN ENRIQUE KRAMER would begin

construction on a location selected by the investor, only to never complete the project beyond some

initial construction. Because the majority of the investors resided in Mexico, they were unable
                                                                                                to
regularly visit the locations. Defendant JUAN ENRIQUE KRA1VIER would communicate
                                                                                 with
them via phone calls and emails transmitted over the interstate and international wires, and
                                                                                             state
that the construction process was proceeding as planned, or provide excuses and explanations
                                                                                             as
to why there were delays. Defendant JUAN ENRIQUE KRAMER made these
                                                                   representations


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 knowing that they were false and that the restaurants would not be completed as scheduled, or at

 all.

         21.     When investors eventually discovered that the restaurants were not actually being

 built on time, Defendant JUAN ENRIQUE KRAMER would give excuses as to the reason for

 the delay.    When investors began asking for their money to be returned, Defendant JUAN

 ENRIQUE KRA1IER would offer partial refunds, or stakes in other businesses as an alternative

 to repayment.    When these methods failed, Defendants JUAN ENRIQUE KRAMER and

ADRIANA PASTOR would then threaten to sue the investors for breach of contract, before

cutting off all communication entirely.

        22.      Rather than use the investor funds to construct and complete the restaurant

locations, Defendants JUAN ENRIQUE KRAMER and ADRIANA PASTOR used the funds

for their own personal expenses and to provide partial payments to previous investors who were

demanding their money back.

        23.     NOEL OLGUIN and KARINA HERNANDEZ were aware that JUAN

ENRIQUE KRAMER and ADRIANA PASTOR would take investor money without finishing

the promised projects but continued to market Las Quesadillas to prospective investors to obtain a

commission payment.

        24.     Defendants JUAN ENRIQUE KRAMER, ADRIANA PASTOR, NOEL

OLGUIN, and KARINA HERNANDEZ perpetrated this scheme on at least eight different

victims between January of 2016 and January of 2019, resulting in a total loss of more than

$1,000,000.
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                                            OVERT ACTS
         In furtherance of this conspiracy and to effect and accomplish its objects, the Defendants,

 or one or more unindicted conspirators, committed, among others, the following overt acts in the

 Western District of Texas and elsewhere:

         25.     In or about December of 2015, Defendant NOEL OLGUIN met with complainant

 CW1 at a business conference in Mexico and arranged a meeting in San Antonio with Defendant

 JUAN ENRIQUE KRAMER to promote the Las Quesadillas business.

         26.    On or about April 1, 2016, Defendant JUAN ENRIQUE KRA1VIER met with

 CW1 in San Antonio, Texas, and executed a contract where Defendant JUAN ENRIQUE

 KRAMER agreed to provide a turn-key restaurant location in Austin, Texas, and rights to the

 franchise for the entire Austin area in return for $250,000.

        27.     On or about April 1, 2016, Defendant JUAN ENRIQUE KRAMER met with

CW1 in San Antonio, Texas and executed a contract where Defendant JUAN ENRIQUE

KRA1LER agreed to provide a turn-key restaurant location in San Antonio, Texas in return for

$115,000.

        28.     In or about March of 2016, NOEL OLGUIN directed CW1 to pay $50,000 to

TFBC as a commission for arranging the above-described agreements. On or around March 18,

2016, CW1 sent $25,000 to TFBC. On or around March 25, 2016, CW1 sent the remaining

$25,000 to TFBC.

       29.     On or about April 5, 2016, NOEL OLGUIN transmitted a copy of these

agreements to CWI in Mexico via electronic mail. JUAN ENRIQUE KRAMER was copied on

this e-mail communication.



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         30.    Between on or about March 2016 and on or about May 2016, Defendants JUAN

 ENRIQUE KRAMER and NOEL OLGUIN accepted approximately $325,000 in payments

 from CWI.

        31.     In or about March   of 2016, Defendant NOEL OLGUIN met with complainant
 CW2 at a business conference in Mexico and arranged a meeting in El Paso, Texas with Defendant

 JUAN ENRIQIJE KRAMER to promote the Las Quesadillas business.

        32.    In or about June of 2016, Defendant JUAN ENIRIQUE KRAMER met CW2 in

 San Antonio, Texas and agreed to provide one turn-key location and a master license for the El

 Paso area in exchange for $250,000.

        33.    In or about June of 2016, Defendant JUAN ENRIQUE KRA1VIER accepted

$250,000 in payments from CW2.

        34.    In or about March of 2017, Defendant ADRIANA PASTOR met with CWs 3 and

4 in San Antonio, Texas, and discussed their potential purchase of a Las Quesadillas franchise.

       35.     On or about August 4, 2017, Defendant JUAN ENRIQUE KRAMER met with

CWs 3 and 4 in San Antonio, Texas, and executed a contract where CWs 3 and 4 agreed to place

$25,000 in escrow, to be applied toward the future purchase of a Las Quesadillas franchise.

       36.     On or about August 4, 2017, Defendant JUAN ENRIQUE KRAMER met with

CWs 3 and 4 in San Antonio, Texas, and executed a contract where CWs 3 and 4 agreed to pay

$105,000 in exchange for a single turn-key Las Quesadillas location in San Antonio, Texas.

       37.     Between on or about August 4, 2017 and August 10, 2017, Defendant JUAN

ENRIQUE KRA1WR accepted $105,000 from CWs 3 and 4 in payment.




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         38.    In or about October of 2016, CW5 engaged KARINA HERNANDEZ and NOEL

 OLGUIN to provide options for businesses in Texas for CW5 to invest in.

         39.    In or about March     of 2017, Defendants KARINA HERNANDEZ and NOEL
 OLGUIN accepted $25,000 in payments from CW5.

         40.    On or about June 17, 2017, Defendant JUAN ENRIQUE KRAMER met with

 CW5 in Houston, Texas and executed a contract where CW5 agreed to pay Defendant JUAN

 ENRIQUE KRAMER $350,000 in exchange for one Las Quesadillas location to be created in

 Houston, Texas, and a master license for part of the Houston area.

        41.     Between June 27, 2017 and February 28, 2018, Defendant KRAMER accepted

 approximately $300,000 from CW5 in payment.

        All in violation of Title 18, United States Code, § 1349.


                                 COUNTS TWO AND THREE
                                       WIRE FRAUD
                                     [18 U.S.C. § 1343]

       42.     The Grand Jury incorporates by reference paragraphs 1 through 41 set out above as

though fully restated and re-alleged herein.

       43.     From in or around January of 2016, and continuing to in or around January of 2019,

in the Western District of Texas and elsewhere, the Defendant,

                               JUAN ENRIQUE KRAMER (1),

aided and abetted by others known and unknown to the Grand Jury, and with intent to defraud, did

unlawfully, willfully, and knowingly devise and execute the above-described scheme to defraud

multiple victims known to the Grand   Jury   and to obtain money or property by means of materially

false or fraudulent pretenses, knowingly did cause to be transmitted by wire in interstate and
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  international commerce writings in violation of Title 18, United States Code, Section 1343,
                                                                                              as set



     Count     Victim         Date            Item
     2         CW   1          12/28/20 16    Email to CW 1 detailing progress on restaurant
     3         CW 2           6/17/2016       Wire transfer for $164,179.56 from Mexico to the
                                              United States


                                              COIHT FOUR
                                               WIRE FRAUD
                                             [18 U.S.C. § 1343]

         44.      The Grand Jury incorporates by reference paragraphs I through 41 set out above as

 though fully restated and re-alleged herein.

         45.      From in or around January of 2016, and continuing to in or around January of 2019,

in the Western District of Texas and elsewhere, the Defendants,

                                 JUAN ENRIQUE KRAMER (1),
                                      NOEL OLGUIN (3),
                                 and KARINA HIERNANDEZ (4),

aided and abetted by others known and unknown to the Grand Jury, and with intent to defraud, did

unlawfully, willfully, and knowingly devise and execute the above-described scheme to defraud

multiple victims known to the Grand Jury and to obtain money or property by means of materially

false or fraudulent pretenses, knowingly did cause to be transmitted by wire in interstate and

international commerce writings in violation of Title 18, United States Code, Section 1343, as set

forth below:


 4           CW 5            6/9/2017        Wire transfer for $10,000 from Mexico to the United
                                             States
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                                          COUNT FIVE
                                          WIRE FRAUD
                                        118 U.S.C. § 13431

         46.   The Grand Jury incorporates by reference paragraphs 1 through 41 set out above as

though fully restated and re-alleged herein.

         47.   From in or around January of 2016, and continuing to in or around January of 2019,

in the Western District of Texas and elsewhere, the Defendants,

                                  JUAN ENRIQIJE KRAMER (1),
                                    and ADRIANA PASTOR (2),

aided and abetted by others known and unknown to the Grand Jury, and with intent to defraud, did

unlawfully, willfully, and knowingly devise and execute the above-described scheme to defraud

multiple victims known to the Grand Jury and to obtain money or property by means of materially

false or fraudulent pretenses, knowingly did cause to be transmitted by wire in interstate and

international commerce writings in violation of Title 18, United States Code, Section 1343, as set

forth below:


 Count     Victim          Date         Item
 5         CW 3+4          8/7/17        Wire transfer for $15,000 from Mexico to the United
                                         States




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      NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                          [See Fed. R. Crim. P. 32.21


        This Notice of Demand for Forfeiture includes, but not limited to the properties described

 in Paragraphs II and IV.

                                                  I.
                            Fraud Violations and Forfeiture Statute
               [Title 18 U.S.C. § 1343 and 1349, subject forfeiture pursuant to
                                 Title 18 U.S.C. § 981(a)(1)(C),
                made applicable to criminal forfeiture by Title 28 U.S.C. 2461]

        As a result of the criminal violations set forth in Counts One through Six, the United States

gives notice to the Defendants of its intent to seek the forfeiture of the property described below

upon conviction pursuant to Fed. R. Crim. p. 32.2 and Title 18 U.S.C.            § 981   (a)(l)(C), made

applicable to criminal forfeiture by Title 28 U.S.C.   §   2461, which states:

       Title 18 U.S.C. § 981. Civil forfeiture
       (a)(1) The following property is subject to forfeiture to the United States:
       (C) Any property, real or personal, which constitutes or is derived from proceeds
       traceable to . . . any offense constituting "specified unlawful activity" (as defined
       in section 1956(c)(7) of this title), or a conspiracy to commit such offense.

Wire Fraud and Conspiracy to Commit Wire Fraud are offenses constituting "specified
unlawful activity" as defined in Title 18 U.S.C. § 1956(c)(7).

                                            H.
                                        Currency

$59,589.32, More or Less, in United States Currency, seized on August 17, 2020 from
Bank of American (account # XXXXXXXX7171),




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                                                                      III.
                                                                Money Judgment

            Money Judgment: A sum of money equal to the amount of proceeds that
            constitutes or is derived from the proceeds traceable to the offenses for which
            Defendants are convicted.
                                                                       Iv.
                                                                Substitute Assets

            If any of the property described above as being subject to forfeiture for the violations set

 forth above, as a result of any act or omission of the Defendants:

            a. cannot be located upon the exercise                   of due diligence;
            b. has been transferred or sold to, or deposited with, a third party;
            c. has been placed beyond the jurisdiction of the Court;
            d. has been substantially diminished in value; or
            e. has been commingled with other property which cannot be divided without difficulty;

it is the intent of the United States to seek the forfeiture of any other property owned by the

Defendant, up to the value of said money judgment, as substitute assets, pursuant to Fed. R. Crim.

P. 32.2(e)(1) and Title 21 U.S.C.                   § 853(p).




ASHLEY HOFF
United States Attorney
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      JUSTIN CHUNG
      Assistant United States Attorney

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   MATTHEW KINSKEY
   Assistant United States Attorney
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